     Case 1:25-cv-02597-KAM-TAM                        Document 3          Filed 05/09/25      Page 1 of 3 PageID #: 28

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

  EDINSON ADRIAN CASTELLANOS GRISALES,                              )
individually and on behalf of others similarly situated,            )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.   25-cv-2597
                                                                    )
   IL SOLE, LLC (D/B/A SOTTO LA LUNA), LUIGIA                       )
     MASTROVITO, FRANCESCA MASTROVITO,                              )
      VALERIO MARCHI, and MARCO COCCIA                              )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           See attached rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Michael Faillace
                                       Michael Faillace & Associates, P.C.
                                       60 East 42nd Street, Suite 4510
                                       New York, New York 10165


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                               CLERK OF COURT


Date:         5/9/2025
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------X
  EDINSON ADRIAN CASTELLANOS
  GRISALES, individually and on
  behalf of others similarly situated,                         Index No.

                                                               RIDER TO REQUEST FOR
  Plaintiff,
                                                               SUMMONS
  -against-

  IL SOLE, LLC (D/B/A SOTTO LA LUNA),
  LUIGIA MASTROVITO, FRANCESCA
  MASTROVITO, VALERIO MARCHI, and
  MARCO COCCIA,

  Defendants.

  -------------------------------------------------------X

 IL Sole, LLC (d/b/a Sotto La Luna)
 34-39 31st Street
 Queens, NY 111067

 Luigia Mastrovito
 34-39 31st Street
 Queens, NY 111067

 Valerio Marchi
 34-39 31st Street
 Queens, NY 111067

 Marco Coccia
 34-39 31st Street
 Queens, NY 111067
